                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 NO: 3:04CR271

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
vs.                                       )
                                          )                              ORDER
OSCAR SOLANO-SANCHEZ,                     )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT with respect to a “Motion for Preliminary

Hearing” (Document No. 76), filed June 7, 2005 by Oscar Solano-Sanchez. In the Motion, Mr.

Solano-Sanchez asks for a “preliminary hearing to protect [his] rights under the Fourth, Fifth and

Sixth Amendments.” Mr. Solano-Sanchez asserts that he has been in pre-trial detention for

approximately nine months while awaiting trial and that he wants a speedy trial.

       The record reflects that Mr. Solano-Sanchez is represented by appointed counsel, Richard

Lamb Brown, Jr. It is the practice of this Court, when a defendant is represented by counsel, to rule

on motions filed only by counsel of record. Therefore, if Mr. Solano-Sanchez has any matters he

wishes this Court to consider, they must be submitted through his attorney.

       IT IS, THEREFORE, ORDERED that the “Motion for Preliminary Hearing” (Document

No. 76) is DENIED without prejudice to Mr. Solano-Sanchez’s right to re-file the motions, if

appropriate, through his attorney.




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                         Signed: June 30, 2005




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